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   10                      IN THE UNITED STATES DISTRICT COURT
   11                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   12                                      CIVIL DIVISION
   13
   14   JAMES MILLER et al.,                           Case No. 3:19-cv-01537-BEN-JLB
   15                                    Plaintiffs,
                                                       COMPENDIUM OF WORKS
   16                v.                                CITED IN DEFENDANTS’
                                                       SUPPLEMENTAL BRIEF IN
   17                                                  RESPONSE TO THE COURT’S
                                                       ORDER OF AUGUST 29, 2022
   18   CALIFORNIA ATTORNEY
        GENERAL ROB BONTA et al.,                      VOLUME 8 OF 13
   19
                                       Defendants. Courtroom:         5A
   20                                              Judge:             Hon. Roger T. Benitez
   21                                                  Action Filed: August 15, 2019
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    32    DUPUY, EVOLUTION, supra note 10, at 286.

    33    A more rational test for a protected weapon would be not whether the weapon is in "common use" but whether the
          weapon is "unreasonably dangerous"-- that is, whether its utility for something like self-defense is outweighed by its
          risks on other margins. The notion of"dangerous and unusual" seems to contemplate such a cost-benefit analysis. Joseph
          Blocher & Darrell A. H. Miller, Lethality. Public Carry. and Adequate Alternatives, 53 HARV. J. ON LEGIS. 279, 297
          (2016).

    34    In this sense, our argument takes issue with a lower court judge who has suggested that "[n]othing in the Second
          Amendment makes lethality a factor to consider because a gun's lethality, or dangerousness, is assumed." Duncan v.
          Becerra, 366 F. Supp. 3d 1131, 1145-46 (S.D. Cal. 2019), affd, 970 F.3d 1133 (9th Cir. 2020). reh'g en bane granted,
          opinion vacated, 988 F.3d 1209 (9th Cir. 2021). reh'g en bane sub nom. Duncan v. Bonta, 19 F.4th 1087 (9th Cir. 2021).
          rev'd and remanded sub nom. Duncan v. Bonta, 19 F.4th 1087 (9th Cir. 2021). This is patently false, as the increased
          lethality of any arm (such as a hand grenade or landmine) is certainly relevant to whether it may be prohibited.


          Robert Meg. Thomas, Jr., Trevor N. Dupuy, 79, Prolific Military Historian, N.Y. TIMES, June 9, 1995,
          at B 11 , https://www.nytimes.com/1995/06/09/obituaries/trevor-n-dupuy-79-prolific-military-historian.html [https://
          perma.cc/DAE6-93J9]; Jack Walker, Trevor N. Dupuy Dead at 79, PHALANX, Sept. 1995, at 33; Susan Rich, Trevor N.
          Dupuy, DUPUY INST., http://www.dupuyinstitute.org/tndupuy.htm (last visited Feb. 10, 2022) [https://perma.cc/YNF7-
          R4N5]. On Dupuy's contributions to military history, see CHRISTOPHER A. LAWRENCE, WAR BY NUMBERS:
          UNDERSTANDING CONVENTIONAL COMBAT, at ix-17 (2017).

    36    See Rich, supra note 35; Thomas, supra note 35, at B 11. Dupuy regarded his chief contribution as integrating
          military theory with historical experience. See LAWRENCE, supra note 35, at ix-xii. See generally T.N. DUPUY,
          NUMBERS, PREDICTIONS AND WAR: USING HISTORY TO EVALUATE COMBAT FACTORS AND PREDICT
          THE OUTCOME OF BATTLES (1979) [hereinafter NUMBERS] (exemplifying Dupuy's commitment to integrating
          military theory and history); T.N. DUPUY, UNDERSTANDING WAR: HISTORY AND THEORY OF COMBAT
          (1987) [hereinafter UNDERSTANDING] (same).


          Walker, supra note 35, at 33.


          Thomas, supra note 35, at Bl 1.

    39    Rich, supra note 35.


          Id.

    41    Rich, supra note 35. On Dupuy's contributions to military history, see LAWRENCE, supra note 35, at ix-17.


          Rich, supra note 35 . See DUPUY, UNDERSTANDING, supra note 36, at X; see also DUPUY, NUMBERS, supra note
          36, at xv; LAWREN CE, supra note 35, at ix-xii.

    43    LAWRENCE, supra note 35, at x. For more information about the research on tactical weapons in the 1950s and
          1960s, see, for example, James Fallows, M-16: A Bureaucratic Horror Story Why the Rifles Jammed, ATLANTIC
          (June 1981 ), https://www.theatlantic.com/magazine/archive/1981/06/m-16-a-bureaucratic-horror-story/545153 [https://
          perma.cc/QHN5-LE7E].




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          See CHARLES R. SHRADER, HISTORY OF OPERATIONS RESEARCH IN THE U.S. ARMY VOLUME 1:
          1942-1962, at iii (2006).


          LAWRENCE, supra note 35, at ix.

    46    Id.

    47    LAWRENCE, supra note 35, at ix; DUPUY, EVOLUTION, supra note 10, at vii.


          Rich, supra note 35 ; Walker, supra note 35, at 33.

    49    DUPUY, EVOLUTION, supra note 10, at vii.

    50    Id.


    .ll   1 CARL VON CLAUSEWITZ, ON WAR 39-40, 106 (J.J. Graham trans. 1873) On the Pentagon's reliance on
          wargaming, see JOHN PRADOS, PENTAGON GAMES : WARGAMING AND THE AMERICAN MILITARY 4
          (1987).

    52    DUPUY, EVOLUTION, supra note 10, at 300-05; see also LAWRENCE, supra note 35, at 6-7.


          DUPUY, EVOLUTION, supra note 10, at 287-94.

    54    Shawn    Woodford, "Human         Factors     in   Warfare:   Fear     in   a Lethal Environment,"             THE
          DUPUY      INST.:   MYSTICS       &     STATISTICS       BLOG     (Nov. 2,       2018),     https://urldefense.com/
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          perma.cc/Z7YJ-2K6L] (quoting Dupuy).


          HIST. EVALUATION & RSCH. ORG., supra note 10.

    56    Rich, supra note 35 .

    57    Walker, supra note 35, at 79.


          Rich, supra note 35 .


          Id; see also Thomas, supra note 35, at B 11.


          See, e.g. , N .K. JAISWAL, MILITARY OPERATIONS RESEARCH: QUANTITATIVE DECISION MAKING 317-18
          (1997); CARL MOSK, NATIONALISM AND ECONOMIC DEVELOPMENT IN MODERN EURASIA 91 (2013);
          James J. Schneider, The Theory ofthe Empty Battlefield, 132 J. ROYAL UNITED SERV. INST. 37, 37 (1987). The most
          recent validations of combat models are described in Volume I, Nos 4, 5, and 6 and Volume III, Nos 1 and 2 of The
          Dupuy lnstitute's International Tactical, Numerical, Deterministic Model ("TNDM") Newsletter. International TNDM




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          Newsletter, TDI: PUBLICATIONS (last visited Feb. 21, 2022) http://www.dupuyinstitute.org/tdipub4.htm [https://
          perma.cc/36PD-Z4NW].

    61    DUPUY, EVOLUTION, supra note 10, at 286.

    62    Id. at 92, 309-10.

    63    To account for these other factors, along with the TLI, Dupuy calculated an Operational Lethality Index ("OLI"). Id.
          at 309-10. A fruitful research question would be to construct a civilian version of the OLI with respect to different
          weapons. But that project is outside the scope ofthis paper.

    64    Id. at 286.

    65    Id. at 286.

    66    Id. at 286.

    67    Id. at 286.

    68    Id. at 292.

    69    See id. at 292-94. In the age of technological change, there were many other ancillary developments, including: the
          percussion cap, electronic communication, barbed wire (first adapted to military purposes in 1874), smokeless powder
          (1885), recoil mechanism, quick-firing artillery (1890-1910); radar (1938), and earth satellites in space. See id. at 296-98.

    70    DUPUY, NUMBERS supra note 36, at 6.

    71    The process of introduction and assimilation of these new weapons is described in a report that he produced, consisting
          of four volumes (342 pages).

    72    See DUPUY, EVOLUTION, supra note 10, at 92.

    73    Situating the modem AR-15 (a successor to the German StG 44, the first "assault rifle," that was used in World War 2)
          anywhere near the Maxim machine gun makes it exponentially more lethal than the flintlock musket of the Founder's
          era. The term "AR-15" is now most-commonly used to refer only to the civilian variants of the rifle which lack the fully
          automatic function. There are a variety of ways to convert an AR-15 to a fully automatic weapon, as explained by Mike
          Searson, Turning Your AR-I5 into an M-I6, RECOIL (June 5, 2019), https://www.recoilweb.com/tuming-your-ar-15-
          into-an-m-16-150631 .html [https://perma.cc/XGT9-4WBZ] .

    74    This table is constructed from Dupuy's data. DUPUY, EVOLUTION, supra note 10, at 92.

    75    Id. at 287.

    76    Id.




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   77    Id. at 287-90.


         Id. at 287.

   79    See Kolbe v. Hogan, 849 F.3d 114. 162 (4th Cir. 2017) (Traxler, J., dissenting) (indicating that untrained civilians need
         more rounds because they are likely to miss the target).


         See id. at 127 ("[W]hen inadequately trained civilians fire weapons equipped with large-capacity magazines, they tend
         to fire more rounds than necessary and thus endanger more bystanders.").

   81    See id. at 153.


         But see Wallace, supra note 2, at 16-17 (arguing that lethality as a stable metric is difficult to determine).

   83    Currently history and historical analogs are part of the conventional two-step framework for Second Amendment
         adjudication. The question in Bruen is whether this historical test is the only step of the analysis.


         DUPUY, EVOLUTION, supra note 10, at 292.


         See id. at 92.


         See id.

   87    Duncan v. Becerra, 366 F. Supp. 3d 1131. 1145-46 {S.D. Cal. 2019), afj'd, 970 F.3d 1133 {9th Cir. 2020), reh'g en bane
         granted, opinion vacated, 988 F.3d 1209 (9th Cir. 2021), reh'g en bane sub nom. Duncan v. Bonta. No. 19-55376, 2021
         WL 5577267 at *119 (9th Cir. Nov. 30. 2021), rev'd and remanded sub nom.

   88    See Cincinnati, Ohio, Ordinance to Prevent Accidents from the Firing of Cannon or Other Guns on Boats, in Front of
         the City of Cincinnati (Mar. 9, 1825) ("[I]t shall not be lawful for any person or persons having charge or being on board
         of any boat upon the Ohio river, when passing by, stopping at, or leaving the city of Cincinnati, to cause any cannon,
         gun or other fire-arms to be so fired as to discharge its contents towards the city .... "); Phila., Pa., Gun-Cotton Act of
         Assembly (Mar. 16, 1847) ("Whereas, an article called gun cotton, with properties of ignition and explosion similar to
         those of gunpowder, and equally if not more dangerous in towns and cities, has been introduced. Therefore .. . no gun-
         cotton shall be introduced in Philadelphia, nor placed in storage therein, in greater bulk or quantity in any one place,
         than is permitted by existing laws, with regard to gunpowder .. ..").


         McDonald v. City of Chicago, 561 U.S. 742. 802 (2010) (Scalia, J., concurring).

   90    The quote is a sardonic remark by Justice Samuel Alito during oral argument over First Amendment protection of violent
         video games. Transcript of Oral Argument at 17, Brown v. Ent. Merchs. Ass'n. 564 U.S. 786 (2011) ( No. 08-1448).

   91    For more on this move of"translation," see Lawrence Lessig, Fidelity in Translation. 71 TEX. L. REV. 1165. 1211
         (1993) ("[T]he practice of translation moves in two stages: first, understanding the contexts between which the translator
         must move; and second, locating something called an equivalence between the two contexts.").




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   92    Kolbe v. Hogan, 849 F.3d 114, 121 (4th Cir. 2017) ("[W]e have no power to extend Second Amendment protection to
         the weapons of war that the Heller decision explicitly excluded from ... coverage.").

   93    See Tucker, supra note 9.

   94    Saul Cornell, Symposium, The Right to Regulate Arms in the Era of the Fourteenth Amendment: The Emergence of
         Good Cause Permit Schemes in Post-Civil War America. 55 UC DAVIS L. REV. ONLINE 65. 67 (2021).


         Id.

   96    GA. CONST. of 1877, art. I, § 1, pt. JOCII (emphasis added).

   97    TEX. CONST. of 1869. art. I.§ 13 (emphasis added).


         For more on this point, see Darrell Miller, New Research from the UC Davis Symposium: The Theoretical Lethality Index,
         Reconstruction Regulation and Enforcement, DUKE CTR. FOR FIREARMS L.: SECOND THOUGHTS BLOG (Oct.
         22, 2021 ), https ://firearmslaw.duke.edu/2021/ 10/new-research-from-the-uc-davis-symposium-the-theoretical-lethality-
         index-reconstruction-regulation-and-enforcement/ [https ://perma.cc/G 7BC-QUNR].

   99    James B . Astrachan, The Bumpy Road to the Supreme Court: Does the Second Amendment Prevent States from
         Prohibiting Ownership o{Assault-Style Rifles and High-Capacity Magazines?. 47 U. BALT. L. REV. 337. 375 (2018)
         ("[I]t is not the role of the courts to take away from the citizens the means to most effectively oppose such a [tyrannical]
         government.").

   100   See JOSEPH BLOCHER & DARRELL A.H. MILLER, THE POSITIVE SECOND AMENDMENT 169 (2018) ("The
         keeping and bearing of lethal arms to deter government officials may be connected to the Second Amendment, but it is
         likely that the value is primarily moral or political, rather than a judicially administrable constitutional entitlement.").
         But to the extent such an argument requires something other than speculation, the TLI offers some metric from which
         to assess what kind of weaponry in private hands would be necessary to counter a military armed with machine guns,
         artillery, and nuclear weapons. See Darrell A. H. Miller, Second Amendment Equilibria. 116 NW. U. L. REV. 239.
         256-57 (2021).


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  [ Originally published as 1 Cent. L. J 259-261, 273-275, 285-287, 295-296 (1874). NOTE: The Central Law
  Journal was published weekly in St. Louis, Mo. This article was published in four installments: Thursday, May
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  Journal: John F. Dillon, Editor & S.D. Thompson, Ass't Editor.]


  The Right to Keep and Bear Arms for Private and
  Public Defence.
  The second amendment of the constitution of the United States recites that "a well-regulated militia being
  necessary to the security of a free state, the right of the people to keep and bear arms shall not be infringed."
  Similar provisions will probably be found in the constitutions of most of the states. Thus the constitution of
  Texas declares that "every person shall have the right to keep and bear arms in the lawful defence of himself or
  the state, under such regulations as the (p.260)legislature may prescribe." Art. 1, § 13. So the present constitution
  of Tennessee provides that "the citizens of this state have a right to keep and bear arms for their common
  defence; but the legislature shall have power by law to regulate the wearing of arms with a view to prevent
  crime." These and similar provisions in the constitutions of other states have been discussed in several cases, and
  with the apparently growing habit of legislatures to restrict the wearing of arms, their exposition assumes
  increasing importance. The provision in the federal constitution does not appear ever to have received exposition
  in the Supreme Court of the United States, but the state tribunals have furnished a series of interesting decisions
  upon the subject, referring either to the federal or to the state constitution.

  1. The first of these appears to have been Bliss v. Commonwealth, 2 Littell, 90, determined in the Court of
  Appeals of Kentucky in 1822, and relates to the question we shall consider first--the manner of carrying
  weapons. The constitution of Kentucky provided "that the right of the citizens to bear arms in defence of
  themselves and the state shall not be questioned." It was held that a statute providing that "any person in this
  commonwealth, who shall hereafter wear a pocket-pistol, dirk, large knife, or sword in a cane, concealed as a
  weapon, unless when travelling on a journey, shall be fined in any sum not less than one hundred dollars," etc.
  This statute was held to be in conflict with the constitutional guaranty, and hence void--one of the three judges
  dissenting. The court said : "That the provisions of the act in question do not import an entire destruction of the
  right of the citizens to bear arms in defence of themselves and the state, will not be controverted by the court; for
  though the citizens are forbid wearing weapons concealed in the manner described in the act, they may
  nevertheless, bear arms in any other admissible form. But to be in conflict with the constitution it is not essential
  that the act should contain a prohibition against bearing arms in every possible form. It is the right to bear arms
  in defence of the citizens and the state that is secured by the constitution, and whatever restrains the full and
  complete exercise of that right, though not an entire destruction of it, is forbidden by the explicit language of the
  constitution. If, therefore, the act in question imposes any restraint upon the right, immaterial what appellation
  may be given to the act, whether it be an act regulating the manner of bearing arms or any other, the
  consequence, in reference to the constitution, is precisely the same, and its collision with that instrument equally
  obvious." And the court further on declare that "in principle there is no difference between a law prohibiting the
  wearing of concealed arms and a law forbidding the wearing of such as are exposed." And, therefore, the
  defendant having been convicted and fined for carrying a sword concealed in a cane, the judgment was reversed.

  The next case in order of time appears to have been The State v. Mitchell, 3 Blaclf. 229, determined in the
  Supreme Court oflndiana in 1833. The ruling is diametrically opposed to that in the Kentucky case. The report
  does no more than mention the point ruled in the briefest terms, but it would seem that the Indiana constitutional
  provision was simply "that the people have a right to bear arms for the defence of themselves and the state." And
  the statute (Laws of Ind., ed. of 1831, p . 192) which was held not in derogation of this provision provided that

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  "every person, not being a traveller, who shall wear or carry any dirk, pistol, sword in a cane, or other dangerous
  weapon concealed, shall, upon conviction thereof, be fined in any sum not exceeding one hundred dollars."

  This ruling was followed by the Supreme Court of Alabama in 1840, in The State v. Reid, 1 Ala. 612. The
  provision of the Alabama constitution was almost identical with that oflndiana. It provided that "every citizen
  has the right to bear arms in defence of himself and the state." And it was held that this provision was not
  infringed by a statute which provided that "if any person shall carry concealed about his person any species of
  fire-arms, or any bowie-knife, Arkansas tooth-pick, or any other knife of the like kind, dirk, or other concealed
  weapon, the person so offending shall, on conviction thereof, before any court having competent jurisdiction,
  pay a fine of not less than fifty nor more than five hundred dollars," etc. The statute was held not in conflict with
  the constitutional provision. And this ruling was reaffirmed in Owen v. The State, 31 Ala. 387. The Supreme
  Court of Alabama in the former case say: "The constitution, in declaring that 'every citizen has the right to bear
  arms in defence of himself and the state,' has neither expressly nor by implication denied the legislature the right
  to enact laws in regard to the manner in which arms shall be borne. The right guarantied to the citizen is not to
  bear arms upon all occasions and in all places, but merely 'in defence of himself and the state.' The terms in
  which this provision is phrased seem to us necessarily to leave with the legislature the authority to adopt such
  regulations of police as may be dictated by the safety of the people and the advancement of public morals." And
  further on they say: "We do not desire to be understood as maintaining that in regulating the manner of bearing
  arms, the authority of the legislature has no other limit than that of its own discretion. A statute which, under
  pretence of regulating, amounts to a destruction of the right, or which requires arms to be so borne as to render
  them wholly useless for the purpose of defence, would be clearly unconstitutional. But a law which is intended
  merely to promote personal security, and to put down lawless aggression and violence, and to that end inhibits
  the wearing of certain weapons in such a manner as is calculated to exert an unhappy influence upon the moral
  feelings of the wearer, by making him less regardful of the personal security of others, does not come in
  collision with the constitution." And the court also say: "Under the provision of our constitution, we incline to
  the opinion that the legislature cannot inhibit the citizen from bearing arms openly, because it authorizes him to
  bear them for the purpose of defending himself and the state, and it is only when carried openly that they can be
  effectively used for defence." 1 Ala. 616. 617. 619.

  The distinction here taken in regard to the manner of carrying or wearing weapons, has been followed in several
  later cases. Thus in Nunn v. The State, 1 Kelly, 243, decided in 1846, the Supreme Court of Georgia held that a
  statute of that state, so far as it sought to suppress the practice of carrying certain weapons secretly, was valid,
  inasmuch as it did not deprive the citizen of his natural right of self-defence, or of his constitutional right to
  keep and bear arms; but that so (p.26l)much of it as prohibited the wearing of certain arms openly, was
  unconstitutional and void. To the same effect, see Stockdale v. The State, 32 Ga. 225, and the very thoroughly
  considered case of The State v. Buzzard, 4 Ark. 18. So it has been held in several cases in Louisiana, that a statute
  prohibiting the carrying of concealed weapons did not infringe the right of the people to keep and bear arms, but
  was simply a measure of police, prohibiting only a particular mode of bearing arms which is found dangerous to
  the peace of society. The State v. Jumel, 13 La. An. 399; The State v. Smith, 11 La. An. 633 ; The State v.
  Chandler, 5 La. An. 489. The same conclusion was reached by the Supreme Court of Tennessee in 1840 in
  Aymette v. The State, 2 Humph. 154, but upon somewhat different grounds, as we shall see further on; and is also
  supported by Andrews v. The State, 3 Heiskell (Tenn.) 165.

  [TO BE CONTINUED.](p.273)

  [CONTINUED.]

  2. A second branch of the question relates to the kind of weapon, the carrying of which is within the
  constitutional guaranty. By far the most instructive case on this branch of the question is Aymette v. State, 2
  Humph. 154. The constitution of Tennessee in force at that time provided that "the free white men of this state
  shall have a right to keep and bear arms for their common defence." And the question considered by the court
  was whether this constitutional provision was violated by a statute which provided "that if any person shall wear
  any bowie-knife, or Arkansas tooth-pick, or other knife or weapon that shall in form, shape or size resemble a
  bowie-knife, or Arkansas tooth-pick, under his clothes, or keep the same concealed about his person, such
  person shall be guilty of a misdemeanor, and upon conviction thereof, shall be find," etc. Green, J., in an able
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  opinion traces the constitutional provision to its origin in the English Bill of Rights, Stat. 1 W & M, ch. St. 2, ch.
  2, cl. and then makes the following observations upon its policy and scope: "As the object for which the right to
  keep and bear arms is secured, is of a general and public nature, to be exercised by the people in a body for their
  common defence, so the arms, the right to keep which is secured, are those which are usually employed in
  civilized warfare, and that constitute the ordinary military equipment. If the citizens have these arms in their
  hands, they are prepared in the best possible manner to repel any encroachments upon their rights by those in
  authority. They need not, for such a purpose, the use of those weapons which are usually employed in private
  broils, and which are efficient only in the hands of the robber and the assassin. These weapons would be useless
  in war. They could not be employed advantageously in the common defence of the citizens. The right to keep
  and bear them is not, therefore, secured by the constitution." It was accordingly held that the statute was not in
  derogation of the state constitution.

  But by far the most elaborate discussion of the question will be found in Andrews v. The State, 3 Heiskell, 165,
  determined in the Supreme Court of Tennessee in 1871. The state was ably represented, and the synopsis of the
  argument of the attorney-general should not be overlooked. The court possessed the weight of being composed
  of six judges; but unfortunately they were by no means unanimous, either as to the result, or as to the reasoning
  by which the result was reached. The provision of the present constitution of Tennessee is that "the citizens of
  this state have a right to keep and bear arms for their common defence; but the legislature shall have power by
  law to regulate the wearing of arms with a view to prevent crime." Const. of Tenn., art. 1, § 26. The material
  provision of the statute whose validity was disputed was that "it shall not be lawful for any person to publicly or
  privately carry and dirk, sword-cane, Spanish stiletto, belt or pocket pistol or revolver." Act of Tenn. , June 11,
  1870; 2 Tho. & S. Code, § 4756 a. It was held that this statute was not in derogation of the constitution of the
  state, except so far as it restrained the keeping of arms "in the ordinary mode known to the court." In this result
  four of the judges concurred. Freeman, J., delivered the opinion of the court, in which the question is discussed
  at great length. Nicholson, Ch. J., and Deaderick, J., concurred in the general views expressed by him; but
  Sneed, J., dissented from so much of the opinion as questioned the right of the legislature to prohibit the wearing
  of arms of any description, or sought to limit the operation of the act of 1870. On the other hand, Nelson, J.,
  dissented with much force, holding that the act was in derogation of the constitutional right to bear arms, and in
  derogation of the natural and inalienable right of self-defence. While it is difficult to say precisely what this long
  case does decide, it may be fairly said to be an affirmance of Aymette v. State, supra; and no doubt the following
  sentences represent the views of all of the four concurring judges, except Sneed, J., who goes further in support
  of the power of the legislature to regulate the wearing of arms: "What, then, is he [the citizen] protected in the
  right to keep and thus use? Not everything that may be useful for offence or defence; but what may
  (p.274)properly be understood or included under the title of arms, taken in connection with the fact that the
  citizen is to keep them as a citizen. Such, then, as are found to make up the usual arms of the citizen of the
  country, and the use of which will properly train and render him efficient in defence of his own liberties, as well
  as of the state. Under this head, with a knowledge of the habits of our people, and of the arms in the use of which
  a soldier should he trained, we would hold that the rifle of all descriptions, the shot-gun, the musket and repeater
  are such arms; and under the constitution, the right to keep such arms cannot be infringed or forbidden by the
  legislature. Their use, however, may be subordinated to such regulations and limitations as are or may be
  authorized by the laws of the land, passed to subserve the general good, so as not to infringe the right secured,
  and the necessary incidents to the exercise of such right." * * * "We hold, then, that the act of the legislature in
  question, so far as it prohibits the citizen, either publicly or privately, to carry a dirk, sword-cane, Spanish
  stilletto, belt or pocket pistol, is constitutional. As to the pistol designated as a revolver, we hold this may or may
  not be such a weapon as is adapted to the usual equipment of the soldier, or the use of which may render him
  more efficient as such; and therefore hold this to be a matter to be settled by evidence, as to what character of
  weapon is included in the designation 'revolver."' * * * * "We know there is a pistol of that name [revolver]
  which is not adapted to the equipment of the soldier, yet we also know that the pistol known as the 'repeater' is a
  soldiers' weapon--skill in the use of which will add to the efficiency of the soldier. If such is the character of the
  weapon here designated, then the prohibition of the statute is too broad to be allowed to stand consistently with
  the views herein expressed. * * * As we have said, the statute amounts to a prohibition to keep and use such
  weapon for any and all purposes. It therefore, in this respect, violates the constitutional right to keep arms, and
  the incidental right to use them, in the ordinary mode of using such arms, and is inoperative."


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  We must not here overlook the early Tennessee case of Simpson v. The State, decided by the Supreme Court of
  Tennessee in 1833, and reported in 5 Yerger, 356. The only question in that case was the sufficiency of an
  indictment for an affray which charged that the defendant, "with force and arms, at, etc., being arrayed in a
  warlike manner, then and there, in a certain public street and highway situate, unlawfully, and to the great terror
  of divers good citizens of the state, then and there being, an affray did make," etc. It was held that this
  indictment did not sufficiently charge an affray. The court consisted of four judges, among them Judge Green,
  who delivered the opinion of the court in Aymette v. The State, supra, and also Judge Catron, afterwards one of
  justices of the Supreme Court of the United States, who, two years before, had delivered the opinion of the court
  in the famous Grainger case (5 Yerg. 459) expounding the law of self-defence; and with these were associated
  Judges Whyte and Peck. Whyte, J., delivered the opinion of the court, Peck, J., dissenting. Two reasons were
  given for holding the indictment insufficient. The first was that in order to constitute an affray there must be, 1st,
  fighting; 2d, and between two or more persons, 3d, and in some public place so as to cause terror to the people.
  Now the indictment did not charge fighting, nor fighting between two or more persons. It was therefore held
  insufficient. It is difficult to conceive how there can be fighting, unless there be at least two persons, unless it be
  between a man and a beast; but we are stating accurately the reasoning of the court. The second reason, and the
  one with which we have to do, is embodied in the following language of Judge Whyte: "But suppose it to be
  assumed on any ground that our ancestors adopted and brought over with them this English statute [2 Edw. III]
  or portion of the common law, our constitution [of 1796] has completely abrogated it. It says 'that the freemen of
  this state have a right to keep and to bear arms for their common defence.' (Art 11, § 29.) It is submitted that this
  clause of our constitution fully meets and opposes the passage or clause in Hawkins of 'a man's arming himself
  with dangerous and unusual weapons,' as being an independent ground of affray, so as of itself to constitute the
  offense cognizable by indictment. By this clause of the constitution an express power is given and secured to all
  the free citizens of the state to keep and bear arms for their defence, without any qualification whatever as to
  their kind or nature; and it is conceived that it would be going much too far to impair by construction or
  abridgment a constitutional privilege which is so declared. Neither, after so solemn an instrument hath said the
  people may carry arms, can we be permitted to impute to the acts thus licensed such a necessarily consequent
  operation as terror to the people to be incurred thereby. We must attribute to the framers of it the absence of such
  a view." In Aymette's case, supra, Judge Green characterized the above language as "only an incidental remark
  of the judge who delivered the opinion, and therefore entitled to no weight." To enable the reader to judge how
  far this declaration of law by Judge White was necessary to the determination of the question in the case, it
  should be remarked that it is an argument put forth to obviate the force of the following language of Sergeant
  Hawkins: "But granting that no bare words in the judgment of law carry with them so much terror as to amount
  to an affray, yet it seems certain that in some cases there may be an affray where there is no actual violence; as
  where a man arms himself with dangerous and unusual weapons, in such a manner as will naturally cause terror
  to the people, which is said always to have been an offence at common law, and is strictly prohibited by many
  statutes." (Hawk. P C. Book 1, ch. 28, § 4, Leach's ed.)

  The latest case upon this branch of the subject appears to be English v. The State, 35 Tex. 473. The statute
  considered in that case (Act of 12 April, 1871, 2 Pasch. Dig. Laws, art. 6512) provides with certain exceptions
  that "any person carrying on or about his person, saddle, or in his saddle-bags, any pistol, dirk, dagger, slung-
  shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other kind of knife manufactured or sold for the
  purpose of offence or defence, unless he has reasonable grounds for fearing an unlawful attack on his person,
  and that such grounds of attack shall be immediate and pressing; or unless having or carrying the same on or
  about his person for the lawful defence of the state, as a militia-man in actual service, or as a peace officer or
  policeman, shall be guilty of misdemeanor," etc. The second section provides that "any person charged under the
  first section of this act who may offer to prove by way of defence that he was in danger of an attack on his
  person, or unlawful (p.275)interference with his property, shall be required to show that such danger was
  immediate and pressing, and was of such a nature as to alarm a person of ordinary courage; and that the weapon
  so carried was borne openly and not concealed beneath his clothing; and if it shall appear that this danger had its
  origin in a difficulty first commenced by the accused, it shall not be considered a legal defence." Section 3
  provides that the governor may, by proclamation, exempt the frontier counties from the operation of the act. The
  remaining sections contain provisions which it is not necessary to notice. It will be seen that this statute is much
  stronger than any which we have previously cited. With certain restricted exceptions, it effectually prohibits the
  bearing of all small arms, whether openly or concealed, on horseback or on foot. It is doubtful whether so
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  sweeping a statute can be sustained in the light of any of the adjudications already quoted. But the late Supreme
  Court of Texas nevertheless did, in English v. The State, supra, declare that it is neither in conflict with the
  second amendment of the federal constitution, nor with the provision of the constitution of that state quoted at
  the beginning of this article. The court (Walker, J.) say: "The word 'arms,' in the connection we find it in the
  constitution of the United States, refers to the arms of a militia-man or soldier, and the word is used in its
  military sense. The arms of the infantry soldier are the musket and bayonet; of cavalry and dragoons, the sabre,
  holster-pistol and carbine; of the artillery, the field-piece, siege gun and mortar, with side-arms. The terms dirks,
  daggers, slung-shots, sword-canes, brass-knuckles and bowie-knives belong to no military vocabulary. Were a
  soldier on duty found with one of these things about his person he would be punished for an offence against
  discipline. The act referred to makes all necessary exceptions, and points out the place, the time and manner in
  which certain deadly weapons may be carried as a means of self-defence; and these exceptional cases, in our
  judgment, fully cover all the wants of society. There is no abridgment of the personal rights, such as may be
  regarded as inherent and inalienable to man, nor do we think his political rights are the least infringed by any
  part of this law." The court also understand the word "arms" in the Texas constitution as having the same import
  and meaning which it has in the second amendment of the federal constitution; and they hold that the legislature
  may regulate the right to bear arms without taking it away, and that this has been done by the act under
  consideration.

  [TO BE CONTINUED.](p.285)

  [CONTINUED.]

  3. A third question is, whether the natural right of self-defence will under any circumstances justify the carrying
  of a particular weapon, and in a particular manner, when such carrying is forbidden by statute. "In reason," says
  Mr. Bishop, "there may be circumstances in which the right of self-defence will justify the carrying of a
  concealed weapon for the purpose; and should such a case arise (and it must be an extreme one, out of the
  ordinary course of things, or it could not arise), doubtless this should be held to be an exception, engrafted by the
  common law upon the general terms of the statute." Bish. Stat. Crimes,§ 789. This view would seem to be
  entirely consistent with reason, and unavoidable. When we reflect on the question of what is termed the right of
  self-defence, we shall see that it is a most comprehensive right; that it is one and the same thing with the right to
  "life, liberty and the pursuit of happiness," which our fathers asserted in the Declaration oflndependence. It
  would seem to follow from what has been said upon the subject by various writers that while society may
  regulate this right of self-defence so as to promote the safety and good of its members, yet any law which should
  attempt to take it away, or materially abridge it, would be the grossest and most odious form of tyranny. Thus,
  Sir Michael Foster says: "The right of self-defence in these cases [cases of felonious attacks upon person,
  habitation, or property] is founded in the law of nature, and is not, nor can be, superseded by any law of society;
  for, before societies were formed, * * * the right of self-defence resided in individuals; it could not reside
  elsewhere; and since, in cases of necessity, individuals incorporated into society cannot resort for protection to
  the law of society, that law with great propriety and (p.286)strict justice, considereth them as still in that instance
  under the protection of the law of nature." (Foster Crown Law, 273-4. See also 2 Rutherforth's Institutes, ch. 16;
  Grotius' De Jure Belli et Pacis, lib. 2 cap. 1; Gray v. Coombs, 7 J J Marshall, 478; Isaacs v. State, 25 Tex. 174;
  Com. v. Riley, Thacher's Crim. Cas. 471 ; United States v. Holmes, 1 Wallace, Jr. 1.) It is within common
  experience that there are circumstances under which to disarm a citizen would be to leave his life at the mercy of
  a treacherous and plotting enemy. If such a state of facts were clearly proven, it is obvious that it would be
  contrary to all our notions of right and justice to punish the carrying of arms, although it may have infringed the
  letter of some statute. To do so would be to make the law what it never was intended to be, an instrument of
  cruelty and injustice. Such a case might clearly be said to fall within that class of cases in which the previously
  existing common law interpolates exceptions upon subsequently enacted statutes. See Bish. Stat. Crimes, §§ 7,
  123, 131, 141, 351-359, 362, 789.

  Turning to the adjudications, we find it declared in one case, under an Indiana statute, probably the same already
  cited (ante, 260), that if a person, not being a traveller, carry a concealed weapon, he is guilty of an indictable
  offense and his motive for carrying the weapon is immaterial. Walls v. The State, 7 Black. 572. A similar ruling
  was made in Cutsinger v. Commonwealth, 7 Bush. Ky. 392. But these cases do not help our enquiries, because

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  the defendants did not claim to have carried the weapons for the purpose of defence against any threatened or
  impending injury, but, in one case, for the purpose of exhibiting it as a curiosity, and in the other, for the purpose
  of conveying it to another person.

  In Hopkins v. Commonwealth, 3 Bush, Ky. 480, there was sufficient proof that the defendant, on a certain day,
  carried a pistol concealed about his person, and the defendant attempted to excuse the act by proving that he had
  been shot at by strangers more than two years before, and that "for precautionary security of self-defence"
  against a like attack he had carried a pistol ever since. The court (Robertson, J.) said: "These facts were wholly
  irrelevant, as there was neither proof nor cause for apprehension of any such impending danger; and, therefore,
  there was no error in refusing to admit another witness to the same facts."

  Another ground of error urged in the same case, was that the court should not have given the following
  instruction: "If the jury believe from the evidence that the defendant * * * carried a pistol concealed about his
  person, and that he had no reasonable ground to believe, and did not believe, that his person was in danger of
  great bodily harm, they should punish him by a fine," etc. To understand the force of this instruction, it should be
  observed that the Kentucky statute against carrying concealed weapons, in force at that time, made the carrying
  of such weapons lawful "where the person has reasonable grounds to believe that his person, or the person of
  some of his family, or his property, is in danger from violence or crime." 1 Stanton's Code, p. 414. The
  defendant's counsel insisted that the defendant was rightfully the best judge of the necessity or prudence of
  carrying a concealed pistol for self-defence, and was the only person who could know whether he in fact
  apprehended danger; and hence objected to so much of the instruction as required reasonable grounds for
  apprehension. The court, however, did not see the instruction in this light. Judge Robertson said: "Were this
  erroneous, the salutary law against the pestilent and alarmingly prevalent habit among all classes, and especially
  among young men and even boys, of wearing concealed arms, through false and cowardly pride, and through
  mock chivalry, might soon become practically a dead letter. A statute so beneficent, and so often and so easily
  evaded, should be vigilantly upheld and stringently enforced by the judiciary, for repressing a dishonorable and
  mischievous practice, which, licensed or unlicensed, leads almost daily to causeless homicides and disturbances,
  which would otherwise never be perpetrated; and to that end, the accused should always be required to prove
  that he carried a concealed weapon only for the purpose of defending himself or family or property against an
  impending attack, reasonably apprehended, and which, if attempted, would justify the use of some such means
  of defence. But the superfluous addition of the words, 'and did not believe that his person was in danger,'
  relieves the instruction from the counsel's criticism, and makes it more favorable to the appellant than he had a
  right to demand or expect." Although this ruling was necessary in view of the terms of the Kentucky statute, yet
  it is thought that it would be the same on general principles; for it is in strict analogy with that numerous class of
  cases which makes the fears of a reasonable man, and not the fears actually entertained, the test of the
  justification of the degree of force and kind of weapon employed in one's defence. (Selfridge's case, 1 Self-
  Defence Cases, 1; Sullivan's case, ib. 65; Shorter's case, ib. 258; and many others.)

  In one of the cases in Tennessee, already quoted, Andrews v. The State, 3 Heiskell, 165. 188, there are
  considerable dicta on the question whether a man can defend himself against an indictment for carrying arms
  forbidden to be carried by law, by showing that he carried them in self-defence. While admitting the question to
  be one of" some little difficulty," the learned judge who delivered the opinion of the court says: "The real
  question in such case, however, is not the right of self-defence, as seems to be supposed (for that is conceded by
  our law to its fullest extent), but the right to use weapons or select weapons for such defence, which the law
  forbids him to keep or carry. If this plea could be allowed as to weapons thus forbidden, it would amount to a
  denial of the right of the legislature to prohibit the keeping of such weapons; for if he may lawfully use them in
  self-defence, he may certainly provide them and keep them for such purpose, and thus the plea of right of self-
  defence will draw with it, necessarily, the right to keep and use everything for such purpose, however pernicious
  to the general interest or peace or quiet of the community. Admitting the right of self-defence in its broadest
  sense, still, on sound principles, every good citizen is bound to yield his preference as to the means to be used, to
  the demands of the public good; and where certain weapons are forbidden to be kept or used by the law of the
  land, in order to the prevention of crime--a great public end--no man can be permitted to disregard this general
  end, and demand of the community the right, in order to gratify his whim or wilful desire, to use a particular
  weapon in his particular self-defence. The law allows ample means of self-defence without the means which we

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  have held may be rightfully (p.287)proscribed by this statute, The object being to banish these weapons from the
  community by an absolute prohibition, for the prevention of crime, no man's particular safety, if such case could
  exist, ought to be allowed to defeat this end. Mutual sacrifice of individual rights is the bond of all social
  organizations, and prompt and willing obedience to all laws passed for the general good is not only the duty, but
  the highest interest of every man in the land. * * * We admit that extreme cases may be put where the rule may
  work harshly, but this is the result of all general rules--that they may work harshly sometimes in individual
  cases. By our system, however, allowing the attorney-general to enter a nolle prosequi with the assent of the
  court, there is but little danger of the law being enforced in any such cases to the detriment of any one; and if
  such case should occur, an application to executive clemency may fairly be presumed to be the remedy provided
  by the constitution to meet all such exigencies." The court, therefore, hold that the testimony tending to prove
  "that there was a set of men in the neighborhood of defendant during the time he carried his pistol and before,
  seeking the life of defendant," was properly rejected, because it did not appear what the character of the weapon
  was, and it may have been such a weapon as could not be properly carried at all, and if so, the testimony would
  be no defence to the indictment. Comparing the above with that part of this case which was quoted on page 274
  of our last number, it is seen that it decides that a man may not, even in his necessary defence, carry, either
  publicly or privately, a dirk, sword-cane, Spanish stiletto, belt or pocket-pistol, but that he may carry such arms
  for his private defence as are adapted to the equipment of the soldier. Much as we respect the general views of
  the learned judge and the commendable desire to promote peace and public order which his opinion manifests,
  yet we do not think that either his reasoning or his conclusion on this particular branch of the question can be
  commended. It entirely confounds the right of arming one's self for private defence against a threatened danger,
  with the policy of the constitution of Tennessee, which guarantees the right of bearing certain arms in order to
  educate the citizen for military duty. If a citizen is obliged to perform a journey where he is in danger of being
  attacked by highwaymen, or by assassins who seek his life, he may, if he have the arms used by a militiaman,
  arm himself with them;--we suppose he may even take a cannon along with him, ifhe have one. But ifhe have
  not, and cannot procure any of the weapons which are used in civilized warfare, he must go unarmed. Besides, in
  attempting to distinguish between the weapons which he may and may not use, the learned court descend into
  distinctions altogether too nice to be of any practical value. A belt or pocket-pistol may not be worn, but a
  "repeater" may. What is a large "repeater" but a belt-pistol, and what is a small "repeater" but a pocket-pistol?
  According to these distinctions, we suppose if the citizen have no other arms than an old-fashioned "pepper-
  box," he must needs leave it at home--to carry it to defend himself against the attack of a highwayman will be an
  indictable offence (and we don't know but it ought to be)--but he may lawfully carry a far more formidable and
  dangerous weapon--a cavalry-revolver, Colt or Remington. In short, before he may lawfully take with him any
  weapon for his personal defence, he must debate and settle in his mind whether such a weapon would be
  appropriate to the equipment of a soldier, and if it would, he may lawfully carry it for the purpose of defending
  himself; otherwise not. That such conclusions do not commend themselves to reason, need scarcely to be
  suggested. Nor do we perceive any ground for the distinction which the learned judge attempts to draw between
  the right of self-defence and the means by which that right may be secured. If the means are prohibited or
  withheld, can any one say that the right is of any substantial value? We think that upon this branch of the case
  the views of Judge Nelson, in his dissenting opinion, are much to be preferred. "I hold," said that learned judge,
  "that when a man is really and truly endangered by a lawless assault, and the fierceness of the attack is such as to
  require immediate resistance in order to save his own life, he may defend himself with any weapon whatever,
  whether seized in the heat of conflict, or carried for the purpose of self-defence."

  In the principal Alabama case which we have already quoted, The State v. Reid, 1 Ala. 612. 619, the question, it
  will be remembered, arose on a constitutional provision which guaranteed the right to bear arms "in defence of
  himself and the state." The court thought that in view of that provision it would not be competent for the
  legislature to prohibit the wearing of arms openly, because "it is only when worn openly that they can be
  efficiently used for defence." And they also say: "We will not undertake to say that if in any case it should
  appear to be indispensable to the right of defence that arms should be carried concealed about the person, the act
  'to suppress the evil practice of carrying weapons secretly' should be so construed as to operate a prohibition in
  such case." The right to bear arms when threatened with, or having good reason to apprehend an attack, or
  travelling or setting out on a journey, was subsequently recognized in Alabama by statute. Ala. Code, 1852, §
  3274; Owen v. State, 31 Ala. 388.


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  In Texas, as we have already seen (ante, p. 274), it has been held within the power of the legislature to prohibit
  the carrying of all small arms, notwithstanding a constitutional provision similar to that of Alabama,
  guaranteeing the right to carry arms for the defence of one's self, as well as for the defence of the state.

  Such appears to be the unsatisfactory state of the authorities on this branch of the question. On the one hand, as
  long as the machinery which society has afforded for the prevention of private injuries remains in its present
  ineffective state, society cannot justly require the individual to surrender and lay aside the means of self-
  protection in seasons of personal danger; and it will be in vain that the laws of society denounce penalties
  against the citizen for arming himself when his life is menaced by the attacks of wild beasts, of highwaymen, or
  of dangerous and persevering enemies. On the other hand, the peace of society and the safety of peaceable
  citizens plead loudly for protection against the evils which result from permitting other citizens to go armed with
  dangerous weapons, and the utmost that the law can hope to do is to strike some sort of balance between these
  apparently conflicting rights.

  [TO BE CONTINUED.](p.295)

  [CONCLUDED.]

  4. We shall take leave of this subject by briefly considering whether the second amendment of the constitution of
  the United States is restrictive upon the states. This amendment provides that "a well-regulated militia being
  necessary to the security of a free state, the right of the people to keep and bear arms shall not be infringed." Mr.
  Bishop suggests that, "though most of the amendments are restrictions on the general government alone, this one
  seems to be of a nature to bind both the state and the national legislatures; and doubtless it does." Of the same
  view was the Supreme Court of Georgia in Nunn v. The State, 1 Kelly, 243, where the question was discussed at
  considerable length, and where a statute of that state was held in part invalid because in conflict with this
  amendment. In the three Louisiana cases already quoted, the subject was discussed solely with reference to this
  amendment to the federal constitution, and it seems to have been taken for granted that it is restrictive upon the
  states. State v. Chandler, 5 La. An. 489; State v. Smith, 11 La. An. 633 ; State v. Jumel, 13 La. An. 399. So in the
  Arkansas case, The State v. Buzzard, 4 Ark. 18, all the judges appear to have understood this amendment as
  applicable to the states; and Judge Dickinson supposes it to pertain to the power possessed by the general
  government of organizing, arming and disciplining the militia. He says this provision of the federal constitution
  "is but an assertion of that general right of sovereignty belonging to independent nations, to regulate their
  military force."

  This view of Judge Dickinson contains the only plausible reason we have met with for supposing that this
  amendment is binding upon the states. The decisions of the Supreme Court of the United States, expounding the
  early amendments of the federal constitution, leave little room to doubt that none of the first ten amendments
  apply to the states, but that all of them are merely restrictive upon the federal power. Thus, in Barron v. The City
  of Baltimore, 7 Pet. 243, 247, it was held that an act of the Maryland legislature, which it was alleged deprived
  the plaintiff in error of his property without just compensation, was not void as being in conflict with the fifth
  amendment of the federal constitution. Chief Justice Marshall, delivering the unanimous judgment of the court,
  said: "The question presented is, we think, of great importance, but not of much difficulty. The constitution was
  ordained and established by the people of the United States themselves, for their own government, and not for
  the government of the individual states. Each state established a constitution for itself, and in that constitution
  provided such limitations and restrictions on the powers of its particular government as its judgment dictated.
  The people of the United States framed such a government for the United States as they supposed best adapted
  to their situation and best calculated to promote their interests. The power they conferred on this government
  was to be exercised by itself, and the limitations on power, if expressed in general terms, are naturally and, we
  think, necessarily, applicable to the government created by the instrument. They are limitations of power granted
  in the instrument itself, not of distinct governments framed by different persons and for different purposes." This
  language would be equally decisive if applied to any of the first ten amendments. Again, in Fox v. The State of
  Ohio, 5 How. 410, 434, it is declared that the prohibitions contained in the amendments to the federal
  constitution "were not designed as limits upon the state governments in reference to their own citizens. They are
  exclusively restrictions upon federal power, intended to prevent interference with the rights of the states and of
  their citizens." "Such, indeed," said Mr. Justice Daniel, in delivering the opinion of the court, "is the only
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  rational and intelligible interpretation which these amendments can bear, since it is neither probable nor credible
  that the states should have anxiously insisted to engraft upon the federal constitution restrictions upon their own
  authority--restrictions which some of the states regarded as the sine qua non of its adoption by them." So, also, it
  was held in Smith v. The State ofMaryland, 18 How. 71, 76, that the provision of the fourth amendment of the
  federal constitution which prohibits the issuing of a warrant, "but upon probable cause, supported by oath or
  affirmation," had no application to the process of the state courts. Language equally decisive will be found in
  Withers v. Buckley, 20 How. 84, 90; Twichell v. The Commonwealth, 7 Wall. 321, and in other cases decided by
  the same court.(p.296)

  In view of these decisions of the only court whose interpretations of the federal constitution are binding and
  decisive, there would seem to remain no doubt that if the question should ever arise in that court it would be held
  that the second amendment of the federal constitution is restrictive upon the general government merely, and not
  upon the states, and that every state has power to regulate the bearing of arms in such manner as it may see fit, or
  to restrain it altogether.




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 ORIGINAL ARTICLE



Treatment of War Wounds
A Historical Review

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Abstract The treatment of war wounds is an ancient art,                   as surgeons on all sides of conflicts developed systems for
constantly refined to reflect improvements in weapons                     rapidly moving the wounded from the battlefield to frontline
technology, transportation, antiseptic practices, and surgical            hospitals where surgical care is delivered. We review the
techniques. Throughout most of the history of warfare, more               most important trends in US and Western military trauma
soldiers died from disease than combat wounds, and mis-                   management over two centuries, including the shift from
conceptions regarding the best timing and mode of treatment               primary to delayed closure in wound management, refine-
for injuries often resulted in more harm than good. Since the             ment of amputation techniques, advances in evacuation
19th century, mortality from war wounds steadily decreased                philosophy and technology, the development of antiseptic
                                                                          practices, and the use of antibiotics. We also discuss how the
                                                                          lessons of history are reflected in contemporary US practices
Each author certifies that he or she has no commercial associations       in Iraq and Afghanistan.
(eg, consultancies, stock ownership, equity interest, patent/licensing
arrangements, etc) that might pose a conflict of interest in connection
with the submitted article.
Disclaimer: The opinions or assertions contained herein are the           Introduction
private views of some of the authors and are not to be construed as
official or reflecting the views of the Department of Defense or the US   The need for surgical care of survivors of accidents or
government. This work was prepared as part of their official duties
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                                                                          animal attacks is part of the story of civilization, as is the
                                                                          story of medical care of those wounded in that other
M. M . Manring                                                            peculiarly human endeavor, warfare [41]. During the past
Department of Orthopaedic Surgery, University                             250 years, and particularly during the 20th century,
of Missouri-Columbia, Columbia, MO, USA
                                                                          developments in military trauma care for musculoskeletal
A. Hawk                                                                   injuries have greatly influenced civilian emergency medi-
National Museum of Health and Medicine, Armed Forces                      cine. The history of military trauma care must be
Institute of Pathology, Washington, DC, USA                               understood in terms of the wounding power of weapons
                                                                          causing the injury and how the surgeon understood the
J. H. Calhoun (C8J)
Department of Orthopaedic Surgery, The Ohio State University,             healing process. Improvements in weapons technology
N1043 Doan Hall, 410 W 10th Ave, Columbus, OH 43210-1228,                 forced surgeons to rethink their interventions in their effort
USA                                                                       to tip the odds of survival in favor of their patient.
e-mail: jason.calhoun@osumc.edu
                                                                             Our purpose is to review the evolution of military
R. C. Andersen                                                            trauma care during the past two and a half centuries in
Orthopaedic Traumatology, Walter Reed National Military                   major conflicts in the West. The major areas of emphasis
Medical Center, Bethesda, MD, USA                                         are medical evacuation and organization; wounds and
                                                                          wound management; surgical technique and technology,
R. C. Andersen
Orthopaedic Traumatology, Walter Reed National Military                   with a particular focus on amputation; infection and anti-
Medical Center, Washington, DC, USA                                       biotics; and blood transfusion.


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Medical Evacuation and Organization                               particularly the importance of organized evacuation and
                                                                  surgical care close to the front line. The war revealed a
Perhaps the most basic problem facing physicians during           stark contrast between the battlefield care provided by the
wartime historically has been whether (and how) to trans-         French, with their expert organization and system of light
port the wounded to care or transport the caregivers to the       ambulances, and the poorly organized British Medical
wounded. A secondary problem historically has been how            Services. Outrage over the poor treatment offered to the
best to organize the delivery of care as modem nations            British wounded led the War Office to send a young nurse,
began to dispatch vast armies and navies to fight across          Florence Nightingale (1820-1910), and a staff of 38 vol-
vast distances.                                                   unteers to the British barracks in Istanbul, Turkey, where
    For example, Pikoulis et al. [110] reviewed the wounds        Nightingale's first act was to thoroughly scrub the hospital,
depicted in The Iliad and determined the arrow wounds             provide clean bedding, improve ventilation and sewage
such as the one suffered by Menelaus carried a mortality          disposal, and reorganize everyday sanitary procedures. She
rate of 42%, slingshot wounds 67%, spear wounds 80%,              was an early theorist of sanitation and the design of hos-
and sword wounds 100%. These high mortality rates sug-            pital buildings. Although her efforts created intense
gest surgeons were unable to get to wounded soldiers              resentment in the army bureaucracy, she was one of the
during the melee, treating only the higher class or those         founders of the modem nursing profession [48]. She broke
who survived after the battle had concluded. These Greek          the monopoly of health care as the sole providence of the
surgeons, whether they realized it or not, faced the same         physician, which led to the development of the healthcare
issues as all future practitioners engaged in wound care:         team in modem medical practice.
wound management, The Golden Hour (the principle that a              Nikolai Pirogoff (1810-1881), who served in the
victim's chances of survival are greatest if he receives          Imperial Russian Army, brought skilled nurses into mili-
resuscitation within the first hour after a severe injury), and   tary hospitals and worked to modernize Russian medical
infection control.                                                equipment [133]. He is the namesake for a conservative
    During the American Revolution (1775-1783), the               technique of foot amputation [98].
Continental Congress authorized one surgeon to serve in              At the onset of the American Civil War (1861-1865),
each regiment. Few of the regimental surgeons, mostly             the US Army and Navy combined had about 100 physi-
trained through the apprenticeship system as there were           cians, many with no experience with battlefield trauma
only two medical schools in the United States (King's             [87], almost 30 of whom resigned to join the Confederacy
College [now Columbia University] in New York, NY, and            [45]. The structure of the Medical Department was
the University of Pennsylvania in Philadelphia, PA), had          decentralized with no clear chain of command and control
any experience treating trauma. The organization was              of supplies. The US Army Quartermaster's Corps, whose
minimal, and regimental surgeons tended to work for their         primary duties were supplying and provisioning troops,
unit instead of seeing themselves as part of the Hospital         were responsible for direct battlefield evacuation. The
Department, which was rendered ineffective by bureau-             Regimental Band served as litter bearers. The first Battle of
cratic infighting [116].                                          Manassas (July 21, 1861) was a rout for the federal forces
    The outstanding military surgeon of the Napoleonic            and the soldiers fled back to Washington. Ultimately, 2708
Wars (1792-1815), Baron Dominique-Jean Larrey (1766-              men were killed or wounded and the Medical Department
1842), generally is regarded as the originator of modem           could not handle the load. Regimental surgeons, because
military trauma care and what would become known as               they worked for their unit only, were either swamped with
triage [131]. He placed surgical teams near the front lines       casualties or idle. Regimental band members and civilian
to shorten the time elapsed after injury and instituted spe-      ambulance drivers hired by the quartermaster's corps fled
cially designed horse-drawn "flying ambulances" in which          from the battle. Most of the wounded had to walk the 27-
the wounded rode with an early version of emergency               mile distance from the battlefield to Washington to reach
medical technicians [67, 103]. Care was prioritized to            the hospitals in the rear. Those who could not walk
provide first for the most badly wounded, without regard to       remained on the battlefield for several days until they were
the patient's chances of survival or the need to restore less     picked up by ambulances, captured by Confederate forces,
gravely wounded soldiers to the front lines quickly [1 1].        or died [62].
After Larrey's system was used during the Battle of Metz             The Union Army quickly reorganized its Medical
(1793), he was ordered to organize medical care for the           Department in 1862 after prodding by a Sanitary Com-
entire French Army [ 131]. Rapid access to care and               mission created by President Lincoln [124]. Jonathan
immediate amputation reduced morbidity and mortality.             Letterman (1824-1872) (Fig. 1) reorganized the medical
    The Crimean War (1854-1855) underscored the                   care in the Army of the Potomac. Wounded soldiers were
importance of methods used by Larrey decades earlier,             removed from the battlefield by litter bearer, the


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    Fig. 1 Jonathan Letterman, seated at
    left with members of the medical staff
    of the Army of the Potomac, organized
    an efficient medical corps after the
    disasters of the initial battles of
    the American Civil War. (Courtesy
    of the National Library of Medicine,
    Washington, DC.)




    predecessor to the medic or corpsman. Regimental Sur-           wounded may have depended on the rank of the injured
    geons were responsible for dressing wounds and patients         soldier, an individual surgeon's best guess, the order of
    were evacuated in ambulances driven by Medical Corps            arrival, or happenstance. von Esmarch emphasized priori-
    noncommissioned officers to a division level field hospital     tizing patients by severity of injury but did so to make the
    for surgical treatment. By the end of the war, the Medical      most effective use of medical resources, not necessarily to
    Department expanded this system by creating a national          treat the most badly injured first [42]. The familiar concept
    network of hospital trains, hospital ships, and general         of triage (from the French "trier", to sort) would be given
    hospitals that could treat the patient near his hometown if     its name by French physicians in World War I [77], but
    he so desired [62]. The main advance in American medi-          institution of a rationalized approach to prioritizing care
    cine during the Civil War was the creation of an effective      was a decades-long development, from Larrey to von
    military medical corps with medical evacuation, hospitals,      Esmarch to the massive armies of World War I.
    and surgical specialists. Health care was beginning to              The then-unprecedented mass casualties in World War I
    become a system. Still missing was a formalized approach        (1914-1919), with horrific wounds from machine guns and
    to care that recognized the severity of injuries. The poet      shell fragments, and the effects of poison gas, created
    Walt Whitman, who worked at several Union hospitals in          terrific strains on British and French medical units. The
    Washington, DC, noted, "The men, whatever their condi-          advent of motorized transport helped make possible the
    tion, lie there, and patiently wait until their turn comes to   establishment of British Casualty Clearing Stations (CCS)
    be taken up" [144]. Whitman's poem "The Wound Dres-             approximately 6 to 9 miles behind the front lines. These
    ser" (1865) poignantly illustrates the state of care at the     were advanced surgical units, staffed by surgeons, anes-
    time (Appendix 1).                                              thetists, and nurses-the closest women had gotten to the
       Johann Friedrich August von Esmarch (1823-1908)              front lines in a modern conflict [41]. The stations were
    served as a young surgeon in German campaigns against           designed to admit between 150 and 400 wounded at a time,
    Denmark in 1848 and 1864 and was appointed surgeon              but they often were overwhelmed with 1000 or more
    general during the war against France in 1870. His con-         patients. Increasingly, instead of the most badly injured
    tributions to military medicine were comprehensive, from        patients being given priority in triage, the time required to
    initial management of wounds, to surgical techniques, to        provide such treatment compelled British surgeons to pri-
    the organizational structure of patient management. In the      oritize in favor of patients with critical but less complicated
    late 19th century, von Esmarch continued the development        wounds [77]. A British manual listed the goals of triage as
    of organized trauma care pioneered by Larrey, who as early      first conservation of manpower and secondly the interests
    as 1812 had introduced clear rules for sorting patients: the    of the wounded [1 46].
    dangerously wounded would receive first attention,                  As US Surgeon General during most of World War II
    regardless of rank; those with less acute injuries would be     (1939-1945), Norman Kirk (1888-1960) (Fig. 2) oversaw
    treated second. Historically, priority of care for the          a medical organization more vast than any of his


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                                                                             ambulance companies supported the MASH, allowing
                                                                             treatment of patients within 3 to 12 hours of wounding
                                                                             [73]. Mortality from all wounds decreased to a low of 2.4%
                                                                             [39], with mortality from abdominal wounds decreasing to
                                                                             8.8% [116].
                                                                                Improvements in medical evacuation technology and
                                                                             organization, particularly the use of helicopters, again
                                                                             played a major role for US forces in Vietnam (1962-1974).
                                                                             Medics splinted and bandaged the wounded patient, fre-
                                                                             quently radioing the hospital and warning of his arrival and
                                                                             diagnosis. Helicopter evacuation minimized the use of
                                                                             morphine, eliminating an additional complication. The
                                                                             hospital mortality rate was slightly higher than in Korea,
                                                                             2.6%, but that increase is probably misleading, as more
                                                                             rapid transport delivered wounded soldiers who would
                                                                             have been listed as killed in action in Korea [99]. Mortality
                                                                             from abdominal wounds declined to 4.5% [58]. Most sol-
                                                                             diers wounded in Vietnam were delivered from the
                                                                             battlefield to fixed hospitals with the capacity to provide
                                                                             definitive treatment, eliminating the need for multiple
                                                                             transfers and levels of care (Fig. 4). Patients not expected
                                                                             to return to full duty within 30 days or less were evacuated
                                                                             to hospitals in Japan and the United States [60].
                                                                                The nature of combat and improvements in evacuation
                                                                             during the Korean and Vietnam conflicts thus allowed for
    Fig. 2 Norman T. Kirk, the first orthopaedic surgeon to be named US      development of fixed hospitals. Although MASH units
    Surgeon General, was responsible for numerous improvements in
    military trawna care, including guidelines for amputation and an
                                                                             continued to provide care, the hospitals grew from 60 beds
    enhanced system of stateside rehabilitation. (Courtesy of the National   at the beginning of the Korean War to 200-bed fixed hos-
    Library of Medicine, Washington, DC.)                                    pitals with metal buildings and concrete floors as the
                                                                             fighting settled into trench warfare by 1952. By 1990, the
                                                                             weight of all of the equipment for a MASH unit was more
    predecessors: 535,000 medics, 57,000 nurses, 47,000                      than 200,000 pounds, meaning the hospital was mobile in
    physicians, and 2000 veterinarians. Nearly 700 overseas                  name only. Unlike previous wars, armies of the Persian
    hospitals were responsible for initial care of the wounded.              Gulf War (1990-1991) moved rapidly, and even though
    Stateside, 78 military hospitals cared for nearly 600,000                several MASH units were staged in trucks, hospitals were
    patients during the war [101]. The chain of care began with              unable to keep up with the rapidly advancing front.
    combat medics, two of which generally were assigned to                   Although there were few casualties, it was painfully
    each company. They provided initial care and determined                  obvious MASH units were too cumbersome to effectively
    whether a wound required evacuation of the patient to a                  support armored units as they raced into Kuwait and
    battalion aid station. If additional treatment were required,            southern Iraq. A new organizational structure was needed
    the patient was evacuated to a divisional clearing station,              [100]. A 20-person Forward Surgical Team (FST) was
    where the first formal triage of patients occurred and which             created to provide resuscitative surgery close to the front
    also served as small surgical hospitals for urgent cases [28].           lines. The role of the fixed-base hospital was taken by a
    Definitive care took place at one of the overseas hospitals              Combat Support Hospital (CSH), a modular unit capable of
    or a military hospital stateside, in the "Zone of the                    supporting between 44 and 248 beds. The reorganization
    Interior."                                                               was completed in 2003 when the 212th MASH becoming
       The US Army Medical Department was in the process of                  the 212th CSH while in Iraq [100].
    reorganizing based on experiences of World War II when                      Trauma care for US soldiers in Iraq and Afghanistan
    the Korean War (1950-1953) began. New Mobile Army                        currently is provided through five levels of care: Level I,
    Surgical Hospital (MASH) units were developed rapidly                    front line first aid; Level II, FST; Level ill, CSH, which is
    under the leadership of the pioneering surgeon Michael                   similar to civilian trauma centers; Level IV, surgical hos-
    DeBakey (1908-1999) to provide resuscitative surgical                    pitals outside the combat zone, such as Landstuhl Regional
    care within 10 miles of the front lines (Fig. 3). Helicopter             Medical Center, Germany; and Level V, major US military


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    Fig. 3A-B (A) The 8208th Mobile
    Army Surgical Hospital was one of
    the MASH units created to provide care
    within a few miles of the front line
    during the Korean War. (Courtesy of
    Otis Historical Archives, National
    Museum of Health and Medicine,
    Armed Forces Institute of Pathology,
    Washington, DC.) (B) Mortality from
    all wounds decreased in Korea owing to
    more rapid transport via helicopter to
    operating rooms such as the one staffed
    by physicians at the 8055th MASH.
    (Courtesy of Otis Historical Archives,
    National Museum of Health and Med-
    icine, Armed Forces Institute of
    Pathology, Washington, DC.)




    hospitals, such as Walter Reed Army Medical Center in          a combat lifesaver trained in resuscitation, and each soldier
    Washington, DC; The National Naval Medical Center in           is equipped with a tourniquet. If surgical resuscitation is
    Bethesda, MD; San Diego Naval Medical Center in San            required, the patient is immediately moved to a higher level
    Diego, CA; and Brooke Army Medical Center in San               of care (Fig. 5A). Level ill army hospitals are large (248
    Antonio, TX (Table 1) [6]. At the front line, each squad has   beds), with surgical specialists, laboratories, radiology, and


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                                                                            Wounds and Wound Management

                                                                            Perhaps the earliest literary account of wound management
                                                                            comes from Homer's epic poem The Iliad (circa 700 BCE),
                                                                            based on events of the Trojan War half a millennium ear-
                                                                            lier [70]. Combat during this period was chaotic, as
                                                                            opposing formations merged into hand-to-hand combat
                                                                            with edged weapons resulting in heavy casualties. The
                                                                            accounts depict surgeons as skilled and professional phy-
                                                                            sicians who expertly treated wartime trauma. In the fourth
                                                                            book of The Iliad, surgeon Makaon treated King Menelaus
                                                                            of Sparta, who had sustained an arrow wound to the
                                                                            abdomen, by extracting the arrow, sucking blood out of the
                                                                            wound to remove poison [76], and applying a salve [70]. In
    Fig. 4 Casualties arrive at the Naval Support Activity Station
    Hospital in Da Nang, Vietnam, in 1968. The wounded were
                                                                            the eleventh book, Achilles' friend Patroclus extracted an
    transferred from the helicopters to the triage area on canvas-covered   arrow from King Eurypylus of Thessaly, when he "cut out
    stretchers. These were set on sawhorses, where they became              with a knife the bitter, sharp arrow from his thigh, and
    examination tables and sometimes operating tables. (From Kelly PJ.      washed the black blood from it with warm water" [70],
    Vietnam, 1968-69: a place and year like no other. Neurosurgery.
    2003;52:927-943. Reproduced with permission of Wolters Kluwer
                                                                            which may have been the first record of debridement and
    Health.)                                                                soft tissue management (Appendix 2).
                                                                               One of the longest-enduring rules of wound care, one
                                                                            that would have implications for centuries, came from the
    Table 1. Levels of care for US wounded in Iraq/Afghanistan              works of Hippocrates (460-477 BCE), whose extensive
                                                                            writings included such innovations as chest tubes for
    Level of care   Description
                                                                            drainage, external fixation, and traction to restore proper
    I               Battalion Aid Station (unit level, combat medic,        alignment of fractured bones and important observations
                      immediate first aid and transport)                    about head trauma. Hippocrates believed wounds should be
    II              Forward Surgical Team, limited emergency surgery        kept dry, only irrigating with clean water or wine, and
                      capabilities
                                                                            suppuration in the wound was a part of the healing process
    ill             Army Combat Support Hospital (theater hospital
                                                                            as it expelled spoiled blood [116]. This belief in "laudable
                      with intensive care)
                                                                            pus" persisted from at least ancient Greece for more than a
    IV              Landstuhl Regional Medical Center, Germany
                      (multidisciplinary surgical trauma management         millennium. Galen (130-200 CE), author of hundreds of
                      for catastrophic injury)                              works describing surgical techniques such as trepanning of
    V               Major stateside trauma centers with teaching            the skull and treatment of penetrating abdominal wounds,
                     and research: Brooke Army Medical Center,              was probably the first to use the Latin term "pus bonum et
                     Walter Reed Army Medical Center,
                                                                            laudabile" after observing that suppurating wounds were
                     National Naval Medical Center,
                      San Diego Naval Medical Center                        often the first to heal [41 ]. Although succeeding genera-
                                                                            tions of surgeons who studied wound care had no reason to
    (Modified and reprinted with permission from Nesson SC, Lounsbury,
    DE, Hetz SP. War Surgery in Afghanistan and Iraq: A Series of
                                                                            question the concept of laudable pus, there were a few
    Cases, 2003-2007. Washington, DC: Office of the Surgeon General;        dissidents, such as the Dominican friar Theodoric (1205-
    2008.)                                                                  1296), who asserted, "It is not necessary that pus be
                                                                            formed in wounds" [113]. By the mid-19th century, the
    blood banks. Definitive surgical treatment can be provided              formation of pus was considered an inevitable consequence
    first at a Level IV hospital but may be provided at Level V,            of surgery, but not part of the healing process. Surgery that
    where limb salvage and reconstructive surgery are per-                  healed without pus was described as "healing by first
    formed. All amputees begin rehabilitation at a Level V                  intention," and surgeons distinguished between creamy
    hospital; bum patients are sent exclusively to Brooke Army              white or yellow laudable pus with the bloody, watery, foul-
    Medical Center. The military C-17 transports that have                  smelling malignant pus that indicated pyemia often fol-
    become known as the flying ICUs are capable of bringing                 lowed by death [15].
    the wounded to the United States in as little as 3 days                    Because the physician held higher status than the sur-
    of their wounding, although the actual number of days                   geon during the Middle Ages, few treatises on surgery or
    varies according to the individual patient's requirements               wound care were published. One notable exception was
    (Fig. SB) [63].                                                         Guy De Chauliac (1298-1368), who proposed five


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    Fig. SA-B (A) US Army soldiers transport a trauma victim to a US     Washington, DC.) (B) More seriously wounded patients are loaded
    Army medical helicopter in Tarmiyah, Iraq, September 30, 2007. (US   onto a C-17 "flying ICU" in March 2007 for transport out of Iraq to
    Navy photograph by Mass Communication Specialist 2nd Class           Level IV facilities. (Photograph by Tech Sgt Mike R. Smith. Courtesy
    Summer M. Anderson. Courtesy of the US Department of Defense,        of the National Guard Bureau, Arlington, VA.)


    principles for treating wounds: removal of foreign bodies,           debridement in smaller wounds. Wine was applied topi-
    rejoining of severed tissues, maintenance of tissue conti-           cally to minor bums, and hog lard to full-thickness burns
    nuity, preservation of organ substance, and prevention of            [96]. John Jones ( 1729-1791 ), a veteran of the French and
    complications. De Chauliac described a weighted system               Indian Wars (1754-1763) and Professor of Surgery in
    for continuous traction to reduce femoral fractures. He also         King's College, New York, advised surgeons to delay
    was an early advocate of topical anesthesia [79] and de-             primary wound closure and apply:
    scribed techniques for hernia, cataract, and amputation
                                                                            ... nothing but dry, soft lint to recent wounds; which
    [41].
                                                                            is generally the best application through the whole
       The development of firearms made cautery a universally
                                                                            course of the cure. At first it restrain the hemorrhage
    accepted treatment for gunshot wounds throughout the 16th
                                                                            with less injury than any styptic medicines; and
    century. Gunshot wounds resulted in gross tissue destruc-
                                                                            afterwards, by absorbing the matter, which is at first
    tion that was an excellent medium for infection. However,
                                                                            thin and acrimonious, it becomes, in effect, the best
    because surgeons of the era had no knowledge of bacteria,
                                                                            digestive. During incarnation (granulation) it is the
    they concluded infection was the result of poisonous gun-
                                                                            softest medicine than can be applied between the
    powder, and sought to destroy the poison by pouring
                                                                            roller and tender granulations; and at the same time
    boiling oil into the wound [116]. The precise origin of this
                                                                            an easy compress on the sprouting fungus. For these
    practice is uncertain, but it was widely popularized through
                                                                            reasons I shall not recommend to you any ointments
    medical texts written by an Italian surgeon, Giovanni da
                                                                            for recent wounds, unless some mild, soft one, to arm
    Vigo (1460-1525) [41]. During the siege of Turin in 1536,
                                                                            a pledget of tow, to cover the lint. ... Incised wounds
    Ambroise Pare (1510-1590), a surgeon with the French
                                                                            are to be brought together with sticking plaster and
    Army, ran out of boiling oil and substituted a salve of egg
                                                                            bandages. The use of a suture is unnecessary in lon-
    yolk, oil of rose, and turpentine, which, to his astonish-
                                                                            gitudinal wounds. Transverse wounds require the
    ment, reduced inflammation and enhanced patient comfort,
                                                                            suture. The interrupted suture is used and the needle
    at least compared with "seething oil" [7]. He concluded
                                                                            dipped in oil. A plaster is applied over the sutures,
    conventional wisdom was incorrect and published his
                                                                            which may usually be removed in two or three days
    observations in his Treatise on Gunshot Wounds in 1545.
                                                                            [40].
       During the American Revolutionary War, surgeons from
    the British and American sides emphasized conservative                  Bullets were removed only if within easy reach of the
    care. John Hunter (1728-1793), surgeon general of the                surgeon. If a wound had to be closed, a piece of onion was
    British army, directed physicians to resist aggressive               placed in the cavity before closure, and the wound


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reopened in 1 to 2 days. As in the past, Colonial physicians     was not the case, as a higher-velocity missile turned out to
saw the development of pus a few days after injury as a          produce greater cavitation and extensive soft tissue damage
sign of proper wound digestion [96].                             beyond the path of the bullet [147].
   By the time of the Crimean War, wound management                 The British orthopaedic surgeon, Robert Jones (1857-
had changed little in a conflict that saw the first use of the   1933), applied lessons from his medical family and his
Minie ball in combat. These bullets traveled at a higher         civilian work to great effect during World War I. Jones'
velocity and struck the body with greater force, shattering      uncle, Hugh Owen Thomas (1834-1891), first described
bone into small fragments and causing extensive soft tissue      the use of braces and splints in fracture management in his
damage. The resulting compound fractures, as noted by Dr.        1875 book Diseases of the Hip, Knee and Ankle Joints [55].
George Macleod (1828-1892), a staff surgeon at a general         Robert Jones began practicing medicine in 1878 and a
hospital in Sebastopol, the Ukraine, forced British surgeons     decade later became surgeon for the massive, 7-year
to learn hard lessons:                                           Manchester Ship Canal Project, which involved 20,000
                                                                 workers and provided numerous opportunities to practice
  Of all the severe injuries recorded in battle, none are
                                                                 new techniques in fracture care. By the time World War I
  of more frequent occurrence or of more serious
                                                                 began, Jones had narrowed his practice from general sur-
  consequence than compound fractures. . . . In the
                                                                 gery to orthopaedics and became director general for
  Crimea, these injuries were peculiarly embarrassing
                                                                 orthopaedics for the British military. At this point, the
  and extraordinarily fatal. .. . It can hardly be doubted
                                                                 death rate from battlefield fractures of the femur was
  that the great striving after conservatism, which
                                                                 approximately 80%. In response, Jones reintroduced his
  influenced all the surgeons of our army, was one main
                                                                 uncle's splint to immobilize the leg immediately on the
  cause of that mortality which attended these injuries
                                                                 battlefield. Medics and stretcher bearers were blindfolded
  [90].
                                                                 during training sessions so that they would be ready to
    Hemorrhage was classified as primary, occurring within       apply the splint in total darkness. By 1915, better imme-
24 hours of wounding; intermediate, occurring between the        diate management of femur fractures had reduced the
first and tenth days; and secondary, occurring after the         mortality rate to approximately 20% [55].
tenth day. Macleod [90] believed a patient was vulnerable           In 1945, the Office of the Surgeon General summarized
to hemorrhage until the wound had fully closed but was           the general approach to wound care during the Second
unlikely to have problems 24 days after wounding.                World War:
    The devastating trauma caused by the Minie ball was
                                                                   As the initial wound operation is by definition a
seen on a much larger scale during the US Civil War.
                                                                   limited procedure, nearly every case requires further
Fatality rates were high for penetrating gunshot wounds to
                                                                   treatment. Soft part wounds, purposely left unsutured
the abdomen (87%) and chest (62%) [12]. Early in the war,
                                                                   at the initial operation, are closed by suture, usually at
cautery and tourniquets were the primary approach to
                                                                   the time of the first dressing on or after the fourth
controlling hemorrhage, but as physicians grew more
                                                                   day. Fractures are accurately reduced and immobi-
experienced, ligature became the primary means for
                                                                   lized until bony union takes place. Designed to
hemostasis. Primary hemorrhage became rarer, but inter-
                                                                   prevent or cut short wound infection either before it is
mediate hemorrhage, after 3 or 4 days, was more frequent
                                                                   established or at the time of its inception, this phase
and carried a mortality rate of 62% [1 3].
                                                                   in the surgical care of the wounded is concerned with
    Although von Esmarch is rightly remembered for his
                                                                   shortening the period of wound-healing and seeks as
improvements in organization and evacuation, his most
                                                                   its objectives the early restoration of function and the
famous innovation was the triangular Esmarch bandage
                                                                   return of a soldier to duty with a minimum number of
("Dreieckstlick" or "triangular piece"), a piece of cotton
                                                                   days lost [102].
twice as long at the base as along the sides, which can be
folded in numerous ways to act as a dressing or sling [42].          The major change in the evaluation of wounds during
von Esmarch also urged the use of ice packs to reduce            World War II involved the timing of closure. In World War
inflammation in wounds, leading colleagues to give him the       I, surgeons learned the value of delayed primary closure in
nickname "Fritz the Ice Pack" [42].                              aiding recovery and fighting infection. Cultures would be
    The Spanish-American War (1898) was notable for the          the main determinant of whether a wound was ready for
introduction of smaller-caliber, high-velocity, metal-jack-      closure. However, physicians found judging the clinical
eted bullets, which were first used in the Battle of Santiago,   appearance of the wound-whether tissues looked healthy,
Cuba, on July 1, 1898. The metal-jacket bullet was con-          with absence of drainage, foreign material, and edema-
ceived as a more humane form of ammunition that would            led to better results. Edward D. Churchill (1895-1972), a
produce cleaner wounds and less deformation [51]. This           US surgeon in the Mediterranean and North African


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